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             UNITED STATES v. PAVEL BABICHENKO

                     Case No. 1:18-cr-00258-EJL




              GOVERNMENT’S ATTACHMENT ONE
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                   UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO




  UNITED STATES OF AMERICA,     )
                                )         CASE NO.: 1:18-CR-0258-EJL
                Plaintiff,      )
                                )
            vs.                 )
                                )
  PAVEL BABICHENKO,             )
  also known as                 )
  PAUL BABICHENKO,              )
                                )
                Defendant.      )         Boise, Idaho
                                )         August 31, 2018
  ______________________________)         10:01:40 a.m.
  And related parties and cases )



                            DETENTION HEARING



                THE HONORABLE RONALD E. BUSH PRESIDING
             MAGISTRATE JUDGE OF THE U.S. DISTRICT COURT




                            DEPUTY CLERK/ESR:

                             KELLY MONTGOMERY
                           U.S. District Court




  Proceedings recorded by electronic sound recording, transcript
  produced by transcription service.
______________________________________________________________________________
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                                                                      Hearing

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  APPEARANCES:




  FOR THE PLAINTIFF:
        KATHERINE L. HORWITZ,
        Assistant U.S. Attorney
        800 Park Blvd., Suite 600
        Boise, ID 83712
        208-334-1155
        kate.horwitz@usdoj.gov




  FOR THE DEFENDANT:
        JOHN CHARLES DeFRANCO, CJA Counsel
        Ellsworth, Kallas & DeFranco
        1031 E. Park Blvd.
        Boise, ID 83712
        (208) 336-1843
        jcd@greyhawklaw.com




  ALSO PRESENT:

        LISA MELCHERT, USPO




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                        WITNESS and EXHIBIT INDEX
                                 Witnesses

  WITNESSES FOR THE PLAINTIFF:                                       PAGE #
  None.


  WITNESSES FOR THE DEFENDANT:
  RYAN WILSON
       Direct Examination by Mr. DeFranco                              32
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                                 * * * * *

                                  Exhibits

  EXHIBITS FOR THE PLAINTIFF:                                       ADMITTED

  Exhibit 1 Photo of 12586 Bridger Warehouse
            with contraband                                            --

  Exhibit 2 Photo of 12586 Bridger Warehouse                          --

  Exhibit 3 Letter from Midstar to Goodman Bancroft                   --

  Exhibit 4 Email from Kristina Babichenko to
            accountant regarding Condo in Brazil                       --


  EXHIBITS FOR THE DEFENDANT:

  Exhibit 1 Video of property in Brazil (thumb drive)                 50


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  CLOSING ARGUMENT ON BEHALF OF PLAINTIFF                             54
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 1     BOISE, IDAHO                                  FRIDAY, AUGUST 31, 2018

 2                                    * * * * *

 3                     PROCEEDINGS BEGAN AT 10:01:40 A.M.

 4                 THE CLERK:    All rise.    The United States District

 5     Court for the District of Idaho is now in session.            The

 6     Honorable Ronald E. Bush presiding.

 7                 THE COURT:    Thank you.    Please be seated.

 8                 THE CLERK:    The Court will hear the detention

 9     hearing in Case Number 1:18-CR-258-EJL, United States of
10     America versus Pavel Babichenko.

11                 Counsel, if you’ll please state your appearances

12     for the record, beginning with the government.

13                 MS. HORWITZ:    Kate Horwitz for the United States.

14     Good morning, Your Honor.

15                 MR. DeFRANCO:    Your Honor, John DeFranco.           I’m

16     present today on behalf of Pavel, Pavel Babichenko.               He

17     actually goes by Paul.      So if I refer to him as Paul, Paul

18     and Pavel are the same.      Thank you.

19                 THE COURT:    All right.    Thank you, counsel.

20                 Mr. Babichenko, good morning to you sir.          Would you

21     please stand so you can be sworn in by the clerk.
22                 PAVEL BABICHENKO, DEFENDANT HEREIN, SWORN

23                 THE COURT:    You may be seated.      Sir, I need you to

24     get a little closer to the microphone, state your full and

25     true name and your date of birth.
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 1                 DEFENDANT PAVEL BABICHENKO:       Pavel Babichenko.

 2     6/12/81.

 3                 THE COURT:    All right.    Sir, at your prior

 4     appearance I had advised you of the fact the government had

 5     filed a motion for detention and discussed with you your

 6     rights in that regard.      We had set a time and place for that

 7     hearing, continued it until today, so that your counsel would

 8     be available.    We’re ready to proceed with that now.

 9                 Ms. Horwitz, are you ready to go?
10                 MS. HORWITZ:    Yep.

11                 THE COURT:    And Mr. DeFranco?

12                 MR. DeFRANCO:    Yes, Your Honor.

13                 THE COURT:    All right.    Then, Ms. Horwitz, do you

14     have witnesses?

15                 MS. HORWITZ:    No, Your Honor.      Just proffer.

16                 THE COURT:    All right.    I’ll hear your proffer.

17                 MS. HORWITZ:    So as this Court has heard in the

18     prior three detention hearings, the scope of this trafficking

19     conspiracy was vast.      And based on this 4-plus year

20     investigation, the defendant operated with his co-

21     conspirators over 100 separate business entities to sell

22     their counterfeit goods online to thousands of customers.

23                 And I apologize for the redundancy of my proffer,

24     Your Honor, and I appreciate the Court’s patience.

25                 THE COURT:    Well, it’s -- it’s a redundancy only
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 1     for you and me, not for Mr. Babichenko, so you need to make

 2     your full case.

 3                  MS. HORWITZ:    Yes.

 4                  MR. DeFRANCO:    Or his attorney, Your Honor.        Thank

 5     you.

 6                  THE COURT:   Well, or his attorney.       Yes.

 7     Obviously.

 8                  MS. HORWITZ:    Absolutely, Your Honor.      I was

 9     just --
10                  THE COURT:   Go ahead.

11                  MS. HORWITZ:    Thank you.

12                  So their personal relationship to each other, as

13     well as the business entities associated with each, I’m going

14     to enumerate for some, but not all of the defendants, and the

15     conspirators, and I believe necessary for the Court’s

16     analysis of detention today.

17                  Now these entities and the relationships were based

18     on subpoenaed records, online database searches of the Idaho

19     Secretary of State, and surveillance of the shipments from

20     12586 West Bridger Street, Suite 110, in Boise, Idaho, where

21     this defendant, along with his co-conspirators, operated

22     their trafficking scheme; as well as undercover purchases on

23     Amazon and eBay as registered sellers.

24                  So Pavel Babichenko is a United States citizen.          He

25     is the brother of Piotr, Timofey, and Gennady Babitchenko, as
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 1     well as Anna Iyerusalimets.       Now there are other siblings

 2     that are not listed there.       These siblings are the co-

 3     conspirators and co-defendants relevant to today’s hearing.

 4                 He resides in Boise, Idaho.       And during the

 5     counterfeit trafficking conspiracy, Pavel Babichenko owned or

 6     controlled the following entities among others.           Midstar

 7     Distributors, LLC.; Midstar, LLC; Midway Distributors, Inc.;

 8     Midway Distributors, LLC; Midway Cellular, LLC; Pacific

 9     Cellular Distributor, LLC; Power Moxie, LLC; and SaharaCase,
10     LLC.

11                 Piotr Babichenko is also a United States citizen

12     and again brother to Pavel, Gennady, Timofey, and Anna

13     Iyerusalimets.     He resides in Boise, Idaho.       And during the

14     counterfeit trafficking conspiracy, Piotr Babichenko owned or

15     controlled the following entities, among others.              Blue Ocean

16     Distributions, LLC; Midway Distributor, LLC; Mobi, LLC; Mobi

17     Recycle, LLC; Mobile Recycle, LLC; Power Moxie, LLC;

18     SaharaCase, LLC.

19                 Timofey Babichenko is also a United States citizen,

20     a brother of Pavel, Gennady, Piotr and Anna Iyerusalimets.

21     He resides in Boise, Idaho, and during the counterfeit

22     trafficking conspiracy Timofey Babichenko owned or controlled

23     the following entities, among others.         Ariginall, LLC; Global

24     Distributing LLC; Global Distributors, LLC; SaharaCase, LLC;

25     Wholesale Gadgets, LLC; Wholesale Cell Phones, LLC.
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 1                 Gennady Babitchenko is a United States citizen and

 2     brother to Pavel, Timofey, Piotr and Anna Iyerusalimets.             He

 3     resides in Boise, Idaho.       During the counterfeit trafficking

 4     conspiracy, Gennady Babitchenko owned or controlled the

 5     following entities, among others.        Babichenko, LLC;

 6     Babichenko Dental Lab, Incorporated; Babichenko & Sons, LLC;

 7     European Denture Center; Morning Star Christian Church,

 8     Incorporated; Morning Star Missions, Incorporated; and

 9     Russian Christian Church.
10                 Now, Your Honor, I would have -- I will proffer

11     that the investigators have found approximately 157 different

12     entities associated with this conspiracy.

13                 Over the course of this investigation, FBI and HSI

14     agents have identified over 50 U.S. Customs & Border

15     Protection seizures of counterfeit electronic goods

16     associated with this conspiracy.

17                 Now I’ve enumerated to the Court many of these

18     already, and Mr. Pavel Babichenko’s co-defendants herein

19     [sic], but he, by far, has the most attributed to him.

20                 On April 23rd, 2013, Customs & Border Protection

21     seized 1500 counterfeit Motorola batteries that were

22     addressed to Pavel Babichenko at 200 North Maple Grove, Number

23     200 in Boise, Idaho.

24                 On September 19, 2013, CBP seized 20 counterfeit

25     Samsung Notes and 30 Samsung Galaxy S2, which all were deemed
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 1    counterfeit by CBP, addressed to Pavel Babichenko at 12586

 2    West Bridger Street address, Boise, Idaho.

 3                 And, Your Honor, when I say 12586 West Bridger,

 4    I’ll just be referring to the Boise, Idaho warehouse in

 5    shorthand.

 6                 September 25th, 2013, CBP seized 20 counterfeit

 7    Apple iPhones headed for Midstar, LLC, at the 12586 West

 8    Bridger Street warehouse.

 9                 The same day, September 25th, 2013, CBP seized 30
10    counterfeit Motorola phones, again headed for Midstar, LLC,

11    at the 12586 West Bridger Street warehouse.

12                 September 26th, 2013, CBP seized 30 counterfeit

13    Motorola phones, again headed to Midstar at the 12586 West

14    Bridger Street warehouse.

15                 On September 30th, 2013, CBP seized 20 counterfeit

16    Verizon phones, addressed to Midstar, LLC, at 12586 West

17    Bridger Street.

18                 February 28th, 2014, CBP seized 2000 counterfeit

19    Samsung and Motorola batteries.         Again headed to Midstar,

20    LLC, at the 12586 West Bridger Street warehouse.

21                 April 25th, 2014, CBP seized 79 counterfeit Apple

22    iPhones headed to Midstar, LLC, at 12586 West Bridger Street.

23                 June 15, 2014, CBP seized 20 counterfeit Apple

24    iPhones headed to Pavel Babichenko at 2890 South Pasa Tiempo

25    Way in Boise, Idaho.       I believe actually it’s Meridian,
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 1    Idaho, Your Honor.      That is Mr. Babichenko’s personal

 2    residence.

 3                 November 16th, 2016, 50 counterfeit Samsung phones

 4    headed to Midstar Distributors; again 12586 West Bridger

 5    Street warehouse.

 6                 November 30th, 2016, 600 counterfeit Samsung

 7    chargers and 600 counterfeit Samsung headsets headed to

 8    Midstar, LLC, at 12586 West Bridger Street.

 9                 And finally, July 11th, 2017, CBP seized 33
10    counterfeit Samsung Galaxy phones and 33 Samsung counterfeit

11    Note phones headed to Midstar Distributors at 2890 South

12    Pasa Tiempo Way.      Again, Mr. Babichenko’s personal residence.

13                 Now in addition to the vast amount of counterfeit

14    goods that CBP has seized coming in internationally and

15    headed to this defendant, either at his personal residence

16    or at a warehouse from which he operates, we had a

17    confidential human source working with FBI who conducted

18    hand-to-hand, both purchases of counterfeit iPhones and

19    Samsung cell phones from this defendant at his 12586 West

20    Bridger Street warehouse.

21                 Now during this undercover purchase, the two were

22    discussing the counterfeit nature of the goods and discussing

23    how it’s too risky to sell iPhones on Amazon because Apple,

24    the trademark holder, is a more aggressive trademark holder

25    in pursuing counterfeit peddlers.
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 1                MR. DeFRANCO:     Counsel, May I interrupt?

 2                MS. HORWITZ:     Yeah.

 3                MR. DeFRANCO:     Is that the person who’s identified

 4    as stating that it’s too risky, is that -- is that Mr.

 5    Babichenko, Paul?

 6                MS. HORWITZ:     Correct.

 7                          (Pause in the Proceedings)

 8                MS. HORWITZ:     So overall, in this conspiracy and

 9    during this investigation, agents made 14 undercover online
10    purchases from Amazon and eBay of various co-conspirators,

11    as well as three total hand-to-hand buys; two, as I

12    previously stated, were attributed to this defendant.

13                On October 26th, 2017 [sic], FBI, with the CHS,

14    conducted an undercover purchase of 20 Apple iPhones and

15    Samsung    battery cell phones.

16                THE COURT:     What was that date again, please?

17                MS. HORWITZ:     October 26, 2016.

18                THE COURT:     Go ahead.

19                MS. HORWITZ:     For $2500 cash, paid by the CHS.         And

20    as previously stated, during this recording, Pavel warns the

21    CHS not to sell these goods on Amazon because it’s, quote,

22    “to risky.”

23                Pavel also recommends selling lesser-known brands

24    like LG, Casio and Motorola.

25                On January 5th, 2017, the same CHS, working with
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 1    FBI, conducted a second hand-to-hand purchase from the

 2    Bridger Street warehouse and Pavel Babichenko, of 10

 3    counterfeit iPhones, this time for $1500.           During the

 4    recorded interaction, the CHS asked Pavel Babichenko, have

 5    you tried telling the people to stop making these errors,

 6    meaning errors on the box, the counterfeit boxes.              To which

 7    Pavel responds, I just don’t get how they make these

 8    mistakes.

 9                And, Your Honor, I would note that in purchasing --
10    in the 14 undercover online purchases conducted by FBI and

11    HSI, the counterfeit goods sometimes bears obvious

12    misspellings and spatial errors on Apple iPhone boxes that

13    are just not attributed to a real product or the standard

14    that Apple itself holds it -- holds itself to.

15                Now in addition, those items were submitted to

16    Apple, the trademark holder, and deemed counterfeit.

17                The third undercover purchase on December 2nd, 2016,

18    and, Your Honor, I would note this is temporally going back,

19    was from the same confidential source working with FBI, again

20    at the Bridger Street warehouses.         And I believe, Your Honor,

21    it was at the 12554 Bridger warehouse, not the 125586 -- or

22    125486 Bridger warehouse.        They’re across the street from

23    each other.

24                CHS purchased, again, counterfeit iPhones for

25    $1740 from David Babichenko, in co-defendant Mikhail
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 1    Iyerusalimets’ presence.        Again during this undercover

 2    purchase, the conspirators are openly discussing the

 3    counterfeit nature of the goods.         In fact Mikhail

 4    Iyerusalimets state simply that they catch fire because

 5    they’re fake.

 6                On October 24th, 2017, FBI, HSI, purchased through

 7    Amazon.com from Tim Babichenko, through Ariginall, two Apple

 8    iPhone 5C G--.

 9                THE COURT:     Ariginall being one of the entities?
10                MS. HORWITZ:     Correct, Your Honor.

11                THE COURT:     All right.

12                MS. HORWITZ:     And it’s spelled A-R-I --

13                THE COURT:     All right.    I’m familiar with it.       Go

14    ahead.

15                MS. HORWITZ:     They received those goods, provided

16    it to the trademark holder, Apple, who deemed it counterfeit.

17    And additionally, and notably, the box says -- misspells

18    California, it has two Ls, it’s a C-A-L-L-F-O-R-N-I-A, comma,

19    no space, A-S-S-E-M-B-L-E-D.

20                And, again, all 14 undercover purchases and all

21    bulk purchases through the hand-to-hand buys were reviewed by

22    the trademark holders and deemed counterfeit.

23                Now in addition to the four years that -- four-plus

24    years that investigators have been looking into this scheme

25    and actively investigating it, on August 22nd, 2018, FBI, HSI,
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 1    IRS, Postal Service executed 12 search warrants, two on the

 2    Boise, Idaho warehouses used in this conspiracy, located on

 3    Bridger Street, 12586 and 12554, respectively.            Those two

 4    Bridger Street warehouses are the offices and storage spaces

 5    for Pavel, Timofey, Piotr, David -- David Bibikov and Mikhail

 6    Iyerusalimets.

 7                Primarily this defendant operates out of the 12586

 8    Bridger Street warehouse.

 9                On-site that day were over a dozen representatives
10    from Samsung, Apple, UL and other trademark holders.             And I’d

11    note UL is technically a certification mark holder, Your

12    Honor.    Who examined samples from the warehouse during the

13    execution of the search warrants and Apple and Samsung

14    representatives determined these to be counterfeit.

15                Now the volume was such that it was simply

16    impossible to review every item.         Your Honor, this is

17    Government’s Exhibit 1, which is a photograph of the 12586

18    West Bridger Street warehouse.

19                THE COURT:     Kelly, do we have that system on?

20                THE CLERK:     I’ll good.

21                THE COURT:     Thank you.    Go ahead.

22                MS. HORWITZ:     Government’s Exhibit 2, a different

23    perspective of the same warehouse, Your Honor.

24                Now because these were deemed --

25                THE COURT:     This is the warehouse?       The
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 1    government’s proffer is that this particular defendant

 2    conducted business from?

 3                MS. HORWITZ:     Correct, Your Honor.

 4                THE COURT:     Okay.

 5                MS. HORWITZ:     But not alone.

 6                THE COURT:     All right.

 7                MS. HORWITZ:     He conducted this business, along

 8    with his brothers and other various employees that he used to

 9    repackage the phones and prepare them for shipment and get
10    them to the end -- of the customers buying through eBay and

11    Amazon and their own proprietary websites.

12                THE COURT:     Go ahead.

13                MS. HORWITZ:     Now FBI and HSI executing this

14    warrant collected approximately, and this is a rough

15    estimation, 41,000 separate items that are suspected as

16    counterfeit contraband.

17                Now in process, are samples from the items taken

18    from the warehouse, which will be shipped to the trademark

19    holders and confirmed, via sampling, that they are

20    counterfeit, in addition to the samples already determined

21    counterfeit by the trademark holders on-site during the

22    execution of the warrant.

23                Additionally, agents in the 12586 Bridger Street

24    warehouse found stacks of IMEI stickers.           Now IMEIs are

25    unique identifiers for individual phones, but these stickers
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 1    had the same numbers.

 2                Also in the warehouse were counterfeit empty

 3    packaging for phones in bulk.         Industrial shrink wrapping

 4    machines.     And of course the contraband seized by HSI and

 5    FBI.

 6                Now also in the warehouse were Sahara boxed items,

 7    which the government left as presumed non-contraband because

 8    these defendants operate in part, a business under SaharaCase

 9    that does not include counterfeit goods, and those boxes were
10    left at the warehouse, Your Honor.

11                Additionally over 3000 packages that were mailed

12    from the Bridger Street warehouses on August 20th and August

13    21st, 2018, had been collected by investigative agents and a

14    search warrant to open those packages and then send them

15    respectively to the trademark holders is planned in the near

16    future.    But just the volume, Your Honor, I think speaks,

17    again, to the scope of this conspiracy.

18                THE COURT:     Can you proffered to me more detail

19    about that?     Are you telling me that the government contends

20    that these packages were prepared for shipment and found in

21    the warehouse or had been delivered to the post office or

22    some other package company and were in route, so to speak?

23                MS. HORWITZ:     I am not entirely sure about the

24    entire body of those packages, Your Honor, so I won’t proffer

25    to you specifically, but it is my understanding that it is
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 1    the latter, that they were not -- the packages were not found

 2    on site, but were collected or interrupted via the mailing

 3    process.    But I would have to double check that, Your Honor,

 4    to know with certainty.

 5                THE COURT:     All right.    And you say those -- and

 6    how -- how is it that the government contends that they were

 7    all sent on the 20th and the 21st?

 8                MS. HORWITZ:     Those were the dates that the agents

 9    collected them, Your Honor.        So I would imagine,
10    theoretically, it would have to be --

11                THE COURT:     Okay.

12                MS. HORWITZ:     -- the court’s proffer of latter

13    explanation, but I just can’t independently verify that based

14    on my memory.     So I don’t want to proffer it to the Court.

15                THE COURT:     Go ahead.

16                MS. HORWITZ:     Now during this investigation, FBI,

17    HSI and postal have also conducted surveillance of the

18    Bridger Street warehouse mailings, which is the second

19    hypothetical that the Court discussed.          And during one day of

20    such surveillance, on December 4th, 2017, agents estimated

21    approximately 354 phones, and 847 batteries were being

22    shipped from the 12586 Bridger Street warehouse.               But we have

23    more than the tangible packages that are being surveyed and

24    found in the warehouse.       We have the movement of money and

25    substantial sums from this defendant to Hong Kong recipient,
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 1    as well and his admission that he sent over approximately

 2    $300,000 a month to his Hong Kong supplier in order to buy

 3    his supply of goods and that was based on his inter- -- Pavel

 4    Babichenko’s interview with the law enforcement on August

 5    22nd, 2018.

 6                 So just by way of example, Your Honor, from one

 7    Midstar account, beginning in 2010, to Hong Kong --

 8                 THE COURT:    Beginning when again?

 9                 MS. HORWITZ:    Say again?
10                 THE COURT:    Beginning when again?

11                 MS. HORWITZ:    October 27th, 2010.

12                 THE COURT:    Go ahead.

13                 MS. HORWITZ:    And ending December 29th, 2010, from

14    one -- well, actually no, Your Honor, there are two Midstar,

15    LLC, bank accounts, one ending in 7407, the other ending in

16    6620.    There are a total of over $3,055,264.60 of wire

17    transfers.

18                 Now these -- interestingly I can go through each

19    wire transfer, Your Honor, but I would rather just proffer

20    the total sum to the Court.        I will pluck out some though,

21    because I think it speaks to the nature of the transfer and

22    the increasing sophistication of the scheme.

23                 On November 2nd 2010, Midstar, LLC, account ending

24    in 7407, wired $1,030,000 to Hong Kong.

25                 In 2017 the sum transfers from Midstar, LLC,
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 1    account 6620, are indicative of money laundering structuring.

 2    They go from larger sums to $10,000.

 3                On September 6th, 2017, there were two transfers of

 4    $10,000.

 5                THE COURT:     Great.    Can you backup for a moment.

 6    Before you were talking to me about a period of -- you said

 7    October 27th, 2010, to December 29th, 2010, did you mean that

 8    to be 2017?

 9                MS. HORWITZ:     I did, Your Honor, I misspoke.
10                THE COURT:     All right.

11                MS. HORWITZ:     I apologize.

12                MR. DeFRANCO:     Your Honor, may I follow-up on your

13    question?     I had December 29th, 2010, the period ending

14    December 29th, 2010, should that be --

15                THE COURT:     That’s what I -- that’s what I was

16    referring to.

17                MR. DeFRANCO:     -- 2017?

18                THE COURT:     Yeah.

19                MR. DeFRANCO:     Is that correct?

20                MS. HORWITZ:     Well --

21                THE COURT:     Ms. Horwitz, give us again the proffer

22    as to the time period that you’re speaking of.

23                MS. HORWITZ:     Between October 27, 2010, and ending

24    December 29th, 2017.

25                THE COURT:     Yes.    Okay.
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 1                MS. HORWITZ:     And this is regarding Midstar, LLC,

 2    account ending in 6620; and Midstar, LLC, account ending in

 3    7407.

 4                The large transfer of over, slightly over $1

 5    million was on November 2nd, 2010.

 6                And then beginning in September -- for beginning

 7    in, really September 15, 2017, we see structuring amounts of

 8    transfer.     In total from the two --

 9                THE COURT:     All right.    So you’re using that in a
10    term of art sense, in the context of proof associated money

11    laundering and so on.       But it would be better, by way of

12    your proffer, to explain to me what you mean by that.

13                MS. HORWITZ:     Certainly, Your Honor.       Because there

14    are certain monetary thresholds that trigger recording

15    requirements from financial institutions, oftentimes you see

16    money launderers, quote, “structuring their transfers” in an

17    attempt to avoid these types of financial obligations on the

18    bank’s part to report.       $10,000 is a -- is such a threshold

19    and so when you see that, oftentimes it’s indicative of -- or

20    sometimes it can be indicative of someone who is attempting

21    to transfer money in an evasive manner.           But the flow of money

22    does not -- unless the Court has other questions?

23                THE COURT:     No.

24                MS. HORWITZ:     Or if defense counsel has other

25    questions on the wire transfers from Midstar to Hong Kong
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 1    I’ll move on.

 2                 THE COURT:    Go ahead.

 3                 MS. HORWITZ:    The money moves not only from this

 4    defendant and his entities to Hong Kong, but also from Hong

 5    Kong to this defendant, or to an entity he controls.

 6                 Between 2010 and 2012, $6,073,134.70 were wired

 7    from Hong Kong to a Midstar, LLC --

 8                 THE COURT:    All right, counsel, let me interrupt

 9    you.    I want to see both of you in chambers for a minute.
10    All right?

11                 MS. HORWITZ:    Okay.

12                 THE CLERK:    All rise.    Court is in recess.

13           (Court Recessed at 10:30:11 a.m. until 10:37:07 a.m.)

14                 THE CLERK:    All rise.    Court is again in session.

15                 THE COURT:    Thank you.    Please be seated.

16                 All right, ladies and gentlemen, I have seen at

17    least one, although the one I saw is now out of the

18    courtroom, if there are any defendants in this case who are

19    in the courtroom, they need to leave because being here, I

20    think indirectly runs afoul of conditions I’ve placed on

21    release, so.

22                 All right, you may proceed.

23                 MS. HORWITZ:    Thank you, Your Honor.

24                 So as previously discussed, we have seen movement

25    of money through just two accounts numbering in the millions
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 1    headed to Hong Kong, but the transfers and the wires are also

 2    being received by Midstar, LLC, account ending in 7407 from

 3    Hong Kong and China.

 4                Between October 22nd, 2010, and March 30th, 2012,

 5    there were approximately $6,073,134.70 worth of wire

 6    transfers into -- from Hong Kong, the Midstar, LLC, bank

 7    account ending in 7407.

 8                There are also other unexplained wire transfers in

 9    the millions of dollars.        Also from Midstar account 7407, on
10    November 11, 2010, there’s a wire transfer from Midstar to

11    Billfish [phonetic] USA, in the amount of $1,080,000.

12                But as this Court knows, the transference of money

13    in illicit proceeds transcends beyond this Midstar account.

14    The following are examples of money moving between co-

15    conspirators and Gennady Babitchenko, who was then funneling

16    the money to Brazil.

17                On or about March 6th, 2014, Global Distributing,

18    LLC, an entity associated with Timofey and Kristina

19    Babichenko, wrote a check to Henry Babichenko in the amount

20    of $35,000.     Now both Pavel and Gennady admitted that the

21    latter is also known as Henry, during their August 22nd, 2018,

22    interviews with law enforcement.

23                On or about March 25th, 2014, Midstar, LLC, wrote a

24    check to Global Distributing, LLC, for $105,000.

25                Just five days later, on April 1st, 2014, Global
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 1    Distributing, LLC, wrote a check for $105,000 to Gennady

 2    Babitchenko.

 3                On or about May 3rd, 2014, Global Distributing, LLC,

 4    deposited $50,000.

 5                On or about April 21st, 2014, Global Distributing

 6    wrote a check to Gennady Babitchenko for $12,000 for, quote,

 7    “a loan.”

 8                On or about May 19th, 2014, Global Distributing

 9    deposited $68,000 in cash.
10                On or about June 1st, 2014, European Denture wrote a

11    check for $13,138 to Global Distributing.

12                On June 3rd, 2014, Global Distributing deposited

13    that check.

14                On July 25th, 2017, Mountain Wireless Distributing,

15    an entity associated with Anna and Mikhail Iyerusalimets,

16    wrote a check for $10,000 to Gennady.

17                On January 4th, 2016, Mountain Wireless Distributing

18    wrote another $10,000 check to Gennady.

19                On October 17th, 2014, Global Distributing, LLC

20    wrote a check to Gennady for $25,000 for Samsung XE500T1C

21    tablets.

22                And on September 10th, 2015, and September 22nd,

23    2015, Pavel Babichenko wired $50,000 to Midstar Constructoes,

24    in Portuguese, LTD, in Brazil.         And construction is spelled

25    C-O-N-S-T-R-U-C-T-O-E-S.
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 1                In the following 21 wires, European Denture, a

 2    business entity controlled by Gennady Babitchenko, wired

 3    money to Babichenko Constructoes, in Portuguese again, a

 4    Brazilian construction company.

 5                On June 20th, 2012 --

 6                THE COURT:     Can you backup.     The latter items that

 7    you had mentioned, you had said Midstar Construction?

 8                MS. HORWITZ:     Correct, Your Honor.

 9                THE COURT:     All right.
10                MS. HORWITZ:     So there were two --

11                THE COURT:     All right.    Okay.

12                MS. HORWITZ:     -- there were two Brazilian.

13                THE COURT:     Okay.   I just wanted to make sure.

14                MS. HORWITZ:     Yeah.

15                THE COURT:     Go ahead.    All right.

16                MS. HORWITZ:     On June 20th, 2012, and these are

17    transfers from European Denture to Babichenko Construction,

18    the Brazilian construction company.

19                THE COURT:     All right.

20                MS. HORWITZ:     On June 20th, 2012, $21,000.

21                On June 29th, 2012, $10,000.

22                On August 6th, 2012, $10,000.

23                On February 22nd, 2013, $50,000.

24                On August 21st, 2013, $60,000.

25                On December 2nd, 2013, $60,000.
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 1                On March 20th, 2014, $60,000.

 2                On September 25th, 2014, $100,000.

 3                On December 1st, 2014, $100,000.

 4                On December 2nd, 2014, $100,000.

 5                On February 23rd, 2015, $70,000.

 6                On April 16, 2015, $100,000.

 7                On June 11th, 2015, $100,000.

 8                On September 21st, 2015, $100,000.

 9                On December 21st, 2015, $100,000.
10                On April 15, 2016, $100,000.

11                On June 13th, 2016, $100,000.

12                On June 27th, 2016, $100,000.

13                On August 2nd, 2017, $100,000.

14                That’s a total of $1,441,000 in one account

15    controlled by Gennady Babitchenko to Brazilian construction

16    accounts.

17                Now HSI has located residential apartment buildings

18    built by these two construction companies and the Babichenko

19    brothers in Brazil.       I am going to butcher this, Your Honor,

20    but specifically in Paratibe and two on Mangabeira and

21    they’re eponymously named Babichenko, with Roman numerals

22    after them, and they are all in Joao Pessoa, Brazil.

23                The apartment buildings are new.         And according to

24    HSI have been listed for sale individually in Brazil by the

25    Babichenkos.
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 1                During his August --

 2                THE COURT:     And that’s -- that’s new to me, right?

 3                MS. HORWITZ:     That’s new to you, Your Honor.

 4                THE COURT:     Okay.

 5                MS. HORWITZ:     And I can’t remember if this is new

 6    to you as well, Your Honor.        But during his August 22nd, 2018,

 7    interview with law enforcement, Pavel admitted that these

 8    apartments were for profit.

 9                Additionally, when investigators spoke with Vasiliy
10    Rudyi, the Morning Star Church trustee, this week, he told

11    them that the Babichenkos apartments in Brazil were not

12    associated with the church.

13                In Gennady Babitchenko interview, also on August

14    22nd, 2018, he admitted to transferring over $1 million to

15    Brazil via wires and he described this as a, quote, business

16    investment.

17                He also admitted to law enforcement that his

18    denturist businesses are not cash businesses.            Meaning that

19    the customers don’t frequently pay with cash.            And he

20    asserted, when confronted, that the movement of money between

21    codefendants and their various entities --

22                THE COURT:     This is Gennady -- or Gennady you’re

23    talking about?

24                MS. HORWITZ:     Correct, Your Honor.

25                THE COURT:     All right.
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 1                MS. HORWITZ:     Correct.    Gennady asserted that the

 2    movement of money were loans and payments on those loans from

 3    his brothers, their associates and their businesses.             But he

 4    admitted that he does not charge interest on these loans, nor

 5    does he necessarily expect to be repaid for these loans.

 6                He also asserted at one point during the interview,

 7    the one large cash deposit were funds that he had had for

 8    several years based on a small -- or small is my add on

 9    there, Your Honor, and I retract it -- a lawn care business
10    that his family had when they first moved to California.

11                Now turning to Government’s Exhibit Number 3.            This

12    is a letter from the Samsung legal representative,

13    instructing Midstar, LLC, to cease its sale of counterfeit

14    goods.    This is dated March 28th, 2014.        And in response to

15    this letter, Samsung legal counsel received this.

16                “Dear Andrew,” Samsung legal counsel.

17                “Please be informed that Midstar, LLC, is the

18          dissolved entity and is not in business.           Its previous

19          owner is no longer in the U.S., but has left to South

20          America for an indefinite period of time for a mission

21          trip.”

22                Now as we know from the CBP seizures, Midstar

23    Distributors continued to receive packages or at least was

24    being sent packages internationally that had counterfeit

25    goods in them.
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 1                As previously stated on November 16, 2015, and

 2    November 30th, 2015, 600 counterfeit Samsung chargers, 600

 3    counterfeit Samsung headsets, and 50 counterfeit Samsung

 4    phones were destined for Midstar Distributors and Midstar,

 5    LLC, respectively.

 6                Do you want me to go through that again, Your

 7    Honor?

 8                THE COURT:     No.

 9                MS. HORWITZ:     Okay.    Additionally, turning to
10    Government’s Exhibit 4, this is an email between two

11    codefendants and family of this defendant, Pavel Babichenko,

12    from Kristina Popudnik, which is the maiden name of Kristina

13    Babichenko who is married to Timofey Babichenko, asking

14    there -- well, asking Troy Sloan:

15                “We have a condo in Brazil and Tim was wondering if

16          we could pay with business money.”

17                To which he replies:

18                “If the condo is not part of the business then no.

19          You need to pay for it with personal money and keep the

20          condo separate from the business in case the business is

21          ever part of a lawsuit.”

22                Now in addition to this body of evidence that we

23    have of their movement of assets and intents to, at least in

24    part live in Brazil, in 2015 a confidential human source told

25    HSI that the Babichenkos were laundering money through the
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 1    church, the Morning Star Church, and moving money to Brazil

 2    as part of a plan to relocate there.          Recently, federal

 3    agents also spoke with the trustee of the Morning Star

 4    Church, Vasiliy Rudyi, who also indicated that the

 5    Babichenkos had planned to relocate to Brazil.

 6                Now regarding this defendant, Pavel Babichenko, he

 7    has Brazilian legal residency status, according to HSI, and

 8    stated during the October 26th, 2016, undercover purchase,

 9    conducted by FBI and the CHS, that he was actively working
10    towards getting Brazilian citizenship.          This defendant is

11    referred to by the other codefendants, in their interviews,

12    as being the leader of this scheme and he has substantial

13    international ties.

14                Regarding his travel, on August 5th, 2010; May 14th,

15    2012; October 13th, 2012; August 6th, 2013; May 15, 2014;

16    October 4th, 2014; May 8th, 2015; August 7th, 2015; April 20th

17    2016; and June 5th, 2017; this defendant traveled to Brazil.

18                He also just recently returned from Brazil on

19    August 20th, where he went with his brothers Gennady, and

20    Timofey, and Igor Babichenko who lives in Florida.

21                Additionally, on July 15th, 2016, and August 7th,

22    2017, he traveled to China.

23                There is also evidence that this defendant has

24    additional assets of which neither this Court nor the

25    government is aware.       During the execution of the search
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 1    warrant at his house on Pasa Tiempo Way, agents discovered

 2    checks from an unknown Philippine bank account, as well as

 3    liquidated and easily transportable assets, like a silver

 4    bar.

 5                 Additionally, in the 12586 Bridger Street

 6    warehouse, agents executing the search warrant discovered

 7    approximately 30 diamond rings.         It’s unknown at this time,

 8    Your Honor, whether or not those are authentic diamonds.

 9                 But additionally, as this Court knows, Mr.
10    Babichenko refused to submit an affidavit of his assets

11    before this Court.

12                 That concludes the government’s proffer, Your

13    Honor.

14                 THE COURT:    Well, to be clear, he gave me an

15    affidavit, but as to certain portions of the affidavit there

16    was not detail.      All right.     So that’s different than what

17    you said, so I just don’t want it to be --

18                 MS. HORWITZ:    True, Your Honor.

19                 THE COURT:    -- misunderstood.

20                 MS. HORWITZ:    And I, of course, have not seen the

21    affidavit.

22                 THE COURT:    Right.

23                 MS. HORWITZ:    But it concerns the government that

24    Mr. Babichenko seems to be, from the government’s position --

25    but that’s more of an argument.
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 1                THE COURT:     All right.

 2                MS. HORWITZ:     Thank you.

 3                THE COURT:     Mr. DeFranco, do you wish to have a

 4    short recess before you begin with your response?

 5                MR. DeFRANCO:     Actually, Your Honor, may I call one

 6    witness and then have a short recess?          He’s a businessman

 7    that will provide an employment opportunity to my client.

 8                THE COURT:     All right.

 9                MR. DeFRANCO:     And I’d like to get him back to work
10    if I could.

11                THE COURT:     Okay.   That’d be fine.

12                MR. DeFRANCO:     Thank you, sir.

13                Ryan Wilson.

14                THE COURT:     We’ll need you to come through, and

15    just stand to the right of counsel’s table there, stop right

16    there, we’ll get you sworn in.
17                  RYAN WILSON, DEFENDANT’S WITNESS, SWORN

18                THE CLERK:     Thank you.

19                THE COURT:     All right.    Our witness box is right

20    here.    You’ll need to take a seat in it.

21                THE CLERK:     Please state your full name.

22                THE COURT:     Oops, oops, let’s get you seated and

23    get the microphone close to you.

24                THE WITNESS:     Okay.

25                THE COURT:     All right.    Go ahead.    I’m sorry.
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                                    WILSON - DIRECT

 1                  THE CLERK:   Please state your full name and spell

 2    your last name for the record.

 3                  THE WITNESS:    Ryan LaMar Wilson, W-I-L-S-O-N.

 4                  THE COURT:   You may inquire.

 5                  MR. DeFRANCO:    Thank you.
 6                                 DIRECT EXAMINATION

 7    BY MR. DeFRANCO:

 8    Q.    Mr. Wilson, are you a resident of the Treasure Valley?

 9    A.    Yes, I am.
10    Q.    And what do you do for a living, sir?

11    A.    I’m an electrical contractor.

12    Q.    Okay.    Where do you work?

13    A.    My office is out of Homedale

14    Q.    And what’s the name of your business?

15    A.    Idaho Electrical Service.

16    Q.    And I’m assuming that provides electrical services to

17    people in need in the Treasure Valley?

18    A.    That’s correct.

19    Q.    What was your education leading up to having this

20    opportunity?

21    A.    I went to -- I went to Boise State for a trade school

22    for four years.

23    Q.    And does not include, is there -- is that to get a

24    license to be an electrician?

25    A.    It is.
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                                   WILSON - DIRECT

 1    Q.    In addition to the four years of school, do you also

 2    need on-the-job experience?

 3    A.    Yes, you need 8000 hours in that four years.

 4    Q.    And you did that through a trade school?

 5    A.    I did the trade school is just for mostly code, code

 6    updates.     On-the-job training is through an employer.

 7    Q.    All right.     And that was through Boise State University?

 8                  THE COURT:   Sir, did you just tell me you were

 9    doing 2000 hours a year?        Is that right?
10                  THE WITNESS:   That’s correct.

11                  THE COURT:   Wow.   Okay.   Go ahead.

12    BY MR. DeFRANCO:

13    Q.    And that was through BSU?

14    A.    The schooling was through BSU.         I was employed by AME

15    Electric to get my 8000 hours.

16    Q.    Okay.    So -- before we get to AME --

17    A.    Mm-hmm.

18    Q.    -- did you serve in the United States military?

19    A.    Yes.

20    Q.    What branch?

21    A.    Army.

22    Q.    And you were generally -- or honorably discharged in

23    what year?

24    A.    I was in ‘97.

25    Q.    And then after that you went onto a different line of
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                                      WILSON - DIRECT

 1    work?

 2    A.      Yes, I did.     I worked for a cable TV company.

 3    Q.      Okay.    And that -- and you found that to be

 4    unsatisfactory?

 5    A.      That’s correct.

 6    Q.      And you began working for AME?

 7    A.      Yes, I did.

 8    Q.      What’s AME?

 9    A.      It’s Alan Michael Emery Electric.
10    Q.      And how long did you work there?

11    A.      Ten years.

12    Q.      Okay.

13                    THE COURT:   Mr. DeFranco, I think the most useful

14    thing for me would be, some information about his business.

15    How long he’s been in business and the nature of the work

16    that they do.

17                    MR. DeFRANCO:    Understood.

18    BY MR. DeFRANCO:

19    Q.      So AME gave you the experience that you needed to start

20    your own business?

21    A.      Yes, that’s correct.

22    Q.      And you started Total Electric?

23    A.      Yes, I did.

24    Q.      And that was kind of a predecessor of the business that

25    you currently own?
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                                  WILSON - DIRECT

 1    A.      That’s correct.

 2    Q.      Okay.   What’s the nature of the business that you own

 3    right now?

 4    A.      Right now we wire new construction homes and we also

 5    have some industrial accounts in the food processing

 6    industry.

 7    Q.      Okay.   So the residential work is done both in counties

 8    Ada and Canyon?

 9    A.      Yes, it is.
10    Q.      And the commercial shop work sounds like food processing

11    plants, more towards Oregon?

12    A.      That’s correct, yes.

13    Q.      And your residence is in Canyon County?

14    A.      Yes, it is.

15    Q.      But you do business in Ada County?

16    A.      Yes, we do.

17    Q.      And mostly residential?

18    A.      Yes.

19    Q.      And you employ a gentleman in the company by the name of

20    Alex?

21    A.      That’s correct.

22    Q.      And he -- you’ve learned that he was a -- that Paul is a

23    cousin of his?

24    A.      Yes.

25    Q.      And how long has Alex been employed?
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                                   WILSON - DIRECT

 1    A.      Roughly 11 months.

 2    Q.      And have you found him to be a good employee?

 3    A.      Yes, he’s very good.

 4    Q.      And have you learned that Paul has very similar

 5    experience you have with regards to being a licensed

 6    electrician?

 7    A.      Yes, I’ve heard that.      Yes.

 8    Q.      And he went through the same program, BSU?

 9    A.      Yes.
10    Q.      And you have an opening right now for Paul?

11    A.      We do.

12    Q.      Okay.    And you would like to hire him as an electrician?

13    A.      Yes.

14    Q.      Okay.    And the absolute base rate of pay would be how

15    much?

16    A.      $15 an hour.

17    Q.      And depending on his experience you may be able to

18    negotiate upward?

19    A.      That’s correct.

20    Q.      And how would you describe your business right now?

21    A.      Busy.

22    Q.      Okay.    I think your words were blowing up.        Is that

23    correct?

24    A.      Blowing up.    Okay, yeah.

25    Q.      I think that’s what you said this morning when I was
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 1    talking to you.

 2    A.    Okay.

 3    Q.    The residential side of the business is very busy.

 4    A.    It’s -- yes, it is.

 5    Q.    And is that what you would use Paul to be working in?

 6    A.    Yes, Paul would be with my residential crew.

 7                  MR. DeFRANCO:    No further questions.      Thank you.

 8                  THE COURT:    All right.

 9                  Ms. Horwitz, do you have questions?
10                  MS. HORWITZ:    The only question I have, Your Honor,

11    and I apologize I probably I missed this.
12                                 CROSS-EXAMINATION

13    BY MS. HORWITZ:

14    Q.    Is Alex -- what’s the last name of your employee?

15    A.    Bibikov.

16    Q.    Okay.    Thank you.

17    A.    Mm-hmm.

18                  MS. HORWITZ:    No further questions Your Honor.

19                  THE COURT:    All right.   Thank you, sir.

20                  THE WITNESS:    Okay.

21                  THE COURT:    You may step down.     You’re free to go.

22                  THE WITNESS:    Thank you.

23                  THE COURT:    Mr. DeFranco?

24                  MR. DeFRANCO:    Your Honor, I propose we take a

25    short recess.
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 1                 THE COURT:    All right.    We’ll take a 10 minute

 2    recess.

 3                 THE CLERK:    All rise.

 4         (Court recessed at 11:01:53 a.m., until 11:12:25 a.m.)

 5                 THE CLERK:    All rise.    The Court is again in

 6    session.

 7                 THE COURT:    Thank you.    Please be seated.

 8                 All right, Mr. DeFranco, do you have further

 9    witnesses?
10                 MR. DeFRANCO:    Your Honor, I’m going to forgo

11    witness testimony and then -- I’m going to proffer the

12    information.

13                 THE COURT:    All right.

14                 MR. DeFRANCO:    So, but can I asked the Court some

15    questions?

16                 THE COURT:    Go ahead.

17                 MR. DeFRANCO:    When I’m proffering, I’m proffering,

18    but when I’m arguing, I need to be arguing.

19                 THE COURT:    Right.

20                 MR. DeFRANCO:    So, and --

21                 THE COURT:    Right now I just want to hear your

22    proffer.

23                 MR. DeFRANCO:    Okay.

24                 THE COURT:    And then we’ll hear argument from the

25    government and then it will be your turn.
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 1                MR. DeFRANCO:     Okay.

 2                THE COURT:     All right?

 3                MR. DeFRANCO:     Yeah.    Got it.

 4                THE COURT:     Go ahead.

 5                MR. DeFRANCO:     Your Honor, I -- right now I’m going

 6    to be proffering some information that I received from Vlad

 7    Shelubay.     Vlad Shelubay his Paul’s father-in-law, the

 8    defendant Paul.

 9                THE COURT:     Can you spell that please?
10                MR. DeFRANCO:     Yes.    S-H-E-L-U-B-A-Y.     And the

11    first name Vlad, V-L-A-D, short for Vladimir.

12                THE COURT:     All right.    Your client’s father-in-

13    law?

14                MR. DeFRANCO:     Yes, sir.

15                THE COURT:     Go ahead.

16                MR. DeFRANCO:     Your Honor, so, obviously, this is a

17    very close family.      Vlad Shelubay is in the courtroom.          Vlad

18    is -- was close to -- is close to Paul, obviously, being his

19    father-in-law, but he also knew Paul’s father.            And I think,

20    is it fair to assume that you take notice of Ms. Melchert’s

21    Pretrial report?

22                THE COURT:     Of course.

23                MR. DeFRANCO:     Okay.    So in there, obviously Paul’s

24    father is identified and unfortunately this year Paul’s

25    father passed away from colon cancer.          And Paul’s father very
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 1    much was the patriarch of the family and like his son,

 2    Gennady, is a pastor in the -- in a Christian church.              As I

 3    understand it, it’s a Christian church -- as I understand it

 4    from Vlad Shelubay, it’s a Christian church that is of the

 5    evangelical nature and Paul’s father was very much dedicated

 6    to giving back and helping the poor.          In fact one of the

 7    tenets of their faith is that you give back 10 percent.              And

 8    in fact, he had encouraged his sons to give back as much as

 9    20 percent of their income.
10                 The initial idea for a mission came from the

11    patriarch, Paul’s father.        And again, Mr. Shelubay, as he

12    explained it to me, they -- as church members struck out

13    trying to find a mission work that they could do, somewhere

14    where it was in need.       They researched Mexico and found that

15    Mexico was very much up to capacity with regards to

16    missionary work and settled on Brazil because of the need.

17    And so it be -- the idea began with my client’s father.

18                 My client’s father, my client and his brothers

19    began this notion of branching out to Brazil and working with

20    the local government to provide relief to the poor.             And in

21    Brazil the     -- where the poor lived is very conspicuous.

22    They live in, I learned about this during the Olympics, the

23    favelas, these are communities that are very much shanty-

24    towns and it’s a source of embarrassment internationally for

25    the country, Brazil.       And it’s also -- the complexity and the
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 1    -- and just the true poor that live in these community is

 2    incredible.     So my client and his brothers struck out to be

 3    able to begin this work with the Brazilian government.

 4    There’s a program called La Casa and when they initially

 5    traveled to Brazil they met up with other missionaries from

 6    England, they developed a relationship with them and they

 7    kind of piggybacked on the hard work that these folks had

 8    done and they started their own mission experience, so.              And

 9    it began with obviously obtaining the appropriate visas and
10    there’s a lot of bureaucratic work that needs to be done

11    before you can even begin any of the work.           You initially buy

12    the property from a provider, you buy it in -- or an owner,

13    you buy it in an area that is, you know, close to these areas

14    that are inhabited by poor folk, and then you have to begin

15    the work of developing the property.

16                Now I am -- I talked to my client about the work

17    that you have to go through in order to do business in

18    Brazil.

19                THE COURT:     Are these business investment visas or

20    humanitarian visas?

21                MR. DeFRANCO:     Well, as I understand it they came

22    on --

23                THE COURT:     Do you know?

24                MR. DeFRANCO:     -- their residential visas.

25                THE COURT:     Okay.
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 1                 MR. DeFRANCO:    For lack of a better term.

 2                 THE COURT:    Okay.

 3                 MR. DeFRANCO:    Here’s what I know.       I know that,

 4    first of all, to become a citizen of Brazil is extremely

 5    difficult.     To become -- you can travel on a tourist visa

 6    which is, I think, originally how the Babichenkos traveled

 7    to the country of Brazil.        And then beyond that, you can

 8    attempt to obtain a residential visa.          I don’t know if it’s

 9    a residential visa, but if you can obtain some form of
10    residence, I think it makes it much easier to do business.

11                 In addition, I think, and I proffer, this is from

12    my client, that in order to do business in Brazil, so if

13    you’d like to open up a bank account or contract with the

14    government you have to have this residential status.             So you

15    have to at least be there on that type of visa in order to be

16    able to participate in this La Casa program that’s

17    constructing housing for the poor.

18                 So that’s -- that’s how it began and that’s -- you

19    know, I think that the government has argued that, you know,

20    this is all some form of exit strategy from the U.S.             And,

21    you know, from my client’s perspective that’s not the case.

22                 These -- the -- now the -- the question that you

23    might be asking yourself is, is this a humanitarian exercise

24    or is it a for-profit exercise?         Ms. Horwitz, in her argument

25    indicated that there’s conversation that these are for sale
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 1    and/or for-profit.      I know that the value of the property is

 2    -- it has -- the property has value, it’s real estate and

 3    its -- there’s a -- as I understand it, the work that’s done

 4    -- again, I’m proffering, this is from my client -- that the

 5    government will ultimately paying you for the construction

 6    that’s done on that land and it’s capped and you have to be

 7    very frugal and it’s also really difficult, in Brazil, to get

 8    contractors to do the work.        You’re responsible for building

 9    all the roadways, and egress, and ingress from the
10    properties.     And then you’re also responsible for the

11    buildings themselves.

12                And it’s been proffered that these buildings have

13    the Babichenko name on it.        They are really very un-austere

14    construction signs that are labeling these residential

15    condos.    They’re kind of these vertical units and they’re

16    made with, I don’t want to say cheap finishing materials,

17    they’re nice, but it’s -- they’re materials that in Brazil

18    that are commonly used, like tile, and it’s a very simple

19    floor plan.     And the floor plan is very small.         It almost has

20    a commercial feel to it.        And the idea is that individuals

21    that are poor will move there, they will pay a reduced rate

22    of rent through the government and live there and that would

23    be the charitable enterprise that was envisioned by the

24    patriarch of the Babichenkos and that was the -- that was

25    the mission of the -- of the brothers in terms of what they
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 1    were doing.     They look at it very much as an outreach and

 2    doing something that -- as would give back as it were.

 3                 And that’s the way it was explained to Vlad

 4    Shelubay as well, the father-in-law.          In fact he had an

 5    opportunity to travel to Brazil and see these -- these

 6    properties and he took some video; and I have that video.

 7    I’ve shared that video with counsel.          And if the Court has an

 8    interest in looking at that video, you could see it as well

 9    and --
10                 THE COURT:    I have an interest in seeing what you

11    want to present to me for me to consider.

12                 MR. DeFRANCO:    Okay.    And I think I would like you

13    to consider that and I can explain why in my argument to the

14    Court.

15                 THE COURT:    Well, but it has to be in the open

16    courtroom.

17                 MR. DeFRANCO:    Okay.

18                 THE COURT:    I’m not going to take something back

19    into chambers and look at it.

20                 MR. DeFRANCO:    Fair enough.     Well, then just

21    logistically, you know, I don’t know if my computer is

22    compatible with the Court system.         I mean I could show the

23    video on my computer screen to anybody who would want to see

24    it in the courtroom.

25                 THE COURT:    Well, why don’t you see if someone’s
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 1    here who could come and see if that’s something that can work

 2    for us.    And while they’re coming I’ll hear from -- further

 3    from you.     All right?

 4                MR. DeFRANCO:     Okay.    That makes perfect sense.       I

 5    want to certainly be as sufficient with your time as I can be

 6    today.    Thank you.

 7                So in addition, Your Honor, Vlad would -- realizes

 8    that there’s probably some concern about the flow of

 9    information between defendants, because the fact that they
10    are very close family members.         In fact my client’s wife is

11    an indicted co-conspirator and she was even here today.              And

12    so, and that’s been a concern to me as well, you know, the

13    integrity of the process is always a real big concern in both

14    minds of the prosecuting attorney and the Court.

15                And, you know, I asked Vlad in the short run, if my

16    client were released, would it be possible for Paul to live

17    in his house, where he and his wife Nadia live, and then

18    Nadia and Vlad could move to Paul’s house and help care for

19    the children.     As you are aware from Ms. Melchert’s report,

20    there are five children between Natalia and Paul, one of

21    which is a 5 month old.       So she probably could appreciate the

22    help.

23                And, you know, Vlad’s not entirely pleased with the

24    notion of having to leave his own home, but he would do

25    whatever it would take to see that Paul was released.              And if
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 1    Paul -- if there was a ruling from this Court that Paul not

 2    have contact with his wife, or live with his wife, we could

 3    accommodate that.      And right now financially, because there’s

 4    no money, it would be difficult to go out and strike out and

 5    get an apartment or something like that, but if Paul were

 6    employed, obviously, he’d be able to do that as well.

 7                So, Your Honor, that’s the information that I think

 8    Mr. Shelubay would have provided to the Court regarding the

 9    Brazil properties, had he taken the stand, and I’ll treat
10    that as proffer.      Obviously, interspersed with some of the

11    more technical aspects of this investment in Brazil that that

12    information -- a portion of that information came from my

13    client.

14                Thank you.

15                THE COURT:     Mr. Rubin, we’re still some time from

16    getting done with this.       You’re welcome to stay if you’d like,

17    but --

18                MR. RUBIN:     Thank you, Your Honor.       I appreciate

19    that.

20                THE COURT:     All right.    Okay.

21                All right, so nothing further by way of proffer.

22    Now we’re waiting to see if we can get the video, is that

23    right, Mr. DeFranco?

24                MR. DeFRANCO:     Yes, Your Honor.      Actually there is,

25    in the context of proffer there probably is one other thing
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 1    I’d like to bring to the Court’s attention.

 2                THE COURT:     Okay.

 3                MR. DeFRANCO:     And again this is in the form of

 4    proffer from my client.

 5                With regards to Government’s Exhibit Number 1,

 6    that’s the picture of the --

 7                THE COURT:     Yes, I know.

 8                MR. DeFRANCO:     You’ve probably seen it a million

 9    times already, so.      Those boxes, and according to my client,
10    the majority of those boxes contain SaharaCase.            Again, you

11    know, I -- I don’t know, the government’s position, it’s

12    seems to arguing that the volume of cell phones is a very

13    aggravating fact in this case, but the -- my client’s take on

14    Exhibit Number 1 is that, to the extent that that Exhibit

15    Number 1 was used to show the volume of cell phones, that’s

16    not an entirely accurate argument.          That’s more related to

17    SaharaCase.

18                And SaharaCase, and this is proffer from my client,

19    is very important right now because cell phone cases are

20    designed for the cell phones that are in existence.             And when

21    a company that builds a case, builds a new case for a cell

22    phone, they actually have to go to the company, the

23    manufacturer and they will, the company or manufacturer

24    actually will develop a dummy that is an exact replica, it

25    doesn’t work like a phone, but it’s a dummy of the physical
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 1    form of the phone and the manufacturers of cases use those

 2    molds in order to make their phones that will fit that

 3    year’s brand new cell phone release.          So the -- and

 4    obviously those have value for new phones coming out.              But

 5    there’s another trend in the market that occurs that when

 6    the new phone comes out, there’s a purchase rush for that new

 7    phone but then the price drops on the last year’s phone and

 8    that price drop --

 9                THE COURT:     Finish what you’re doing please.
10                MR. DeFRANCO:     Okay.    Thank you.    That price drop

11    will precipitate a sales frenzy on the old phone.              And so the

12    old phone is already in existence.          The cases for the old

13    phones have been produced, but the shelf-life for those --

14                THE COURT:     I -- fine, but really what is important

15    in all of this from your client’s perspective is, you’re

16    proffering to me that it’s not what it seems to be from the

17    government’s allegations?

18                MR. DeFRANCO:     Right.

19                THE COURT:     Is that right?

20                MR. DeFRANCO:     Yes.

21                THE COURT:     Okay.

22                MR. DeFRANCO:     But I’m also, because there’s

23    another aspect to this.

24                THE COURT:     Go ahead.

25                MR. DeFRANCO:     The other aspect to this is that
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 1    those cell phone cases, after the mad rush for the old phones

 2    is over, will become virtually worthless because all those

 3    old phones will be sold primarily during the Christmas

 4    holiday.    So that inventory of old cell phone cases, if they

 5    missed that window of opportunity in selling those cases

 6    it’ll be gone and they’ll be virtually worthless because the

 7    inventory will have already been sold and the phone cases

 8    will have already been sold during that particular holiday.

 9                So there’s -- my clients -- my client is a
10    wholesaler of refurbished phones and a retailer of newly

11    manufactured cell phone cases.         And the fact that he’s in

12    custody and can’t sell those cases is a hardship.

13                THE COURT:     All right.    So I thought you were

14    trying to tell me that the inventory included a bunch of

15    cell phone cases that just were -- no, there wasn’t a market

16    for them anymore, but now you’re telling me that -- and I

17    don’t mean now, but you’re suggesting to me that -- that I

18    should consider, in a release decision, whether or not your

19    client would be able to sell cases he has right now.             Is

20    that right?

21                MR. DeFRANCO:     I think you should, yes.

22                THE COURT:     Okay.

23                MR. DeFRANCO:     Because otherwise that’s --

24                THE COURT:     All right.    I’ll be interested in your

25    argument about why that’s true.
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 1                Okay, so Mr. Ward can you help him -- Mr. DeFranco

 2    see if you can get this video loaded please.

 3                      (Off Record Colloquy of Mr. Ward)

 4                THE COURT:     We’re off the record.

 5         (Court recessed at 11:28:45 a.m., until 11:35:28 a.m.)

 6                THE CLERK:     All rise.    Court is again in session.

 7                THE COURT:     Thank you.    Please be seated.      Back on

 8    the record.

 9                The Court has just viewed a video.          We’re going to
10    have Mr. DeFranco make the disk that contains the video,

11    Defendant’s Exhibit 1.

12                Any objection to its admission, Ms. Horwitz?

13                MS. HORWITZ:     No, Your Honor, so long as defense

14    counsel asserts that the video seen in chambers is the video

15    on the disk.

16                THE COURT:     Well, I guess that was understood, but

17    now that you -- why don’t you -- why don’t you confirm that,

18    Mr. DeFranco.

19                MR. DeFRANCO:     Your Honor, John DeFranco on behalf

20    Paul, confirming that the thumb drive I have in my hand is

21    the exhibit that the Court just watched.

22                THE COURT:     All right.    So why don’t you bring that

23    forward.    Give that to Ms. Montgomery please.          We’ll make

24    that Defendant’s Exhibit 1.

25                      (Defendant’s Exhibit 1, admitted)
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 1                THE COURT:     Then, Mr. DeFranco, if you’ll go back

 2    to the podium and just make a proffer as to what it

 3    contains.

 4                MR. DeFRANCO:     Certainly.     So, Your Honor, as I

 5    mentioned, Vlad Shelubay, my client’s father-in-law, traveled

 6    with the family to Brazil.        When he traveled, he traveled on

 7    a tourism visa.      He shot the video of the construction and

 8    the purpose of that was to just memorialize the experience.

 9    He had that video’s stored on a camera.           He was kind enough
10    today to transfer that to that video.          And he actually had

11    edited a portion of it and set it to music, as I understand

12    before, but he took a portion of the video that he had

13    captured and made it in a digestible exhibit format of a

14    minute and a half.      It showed the construction itself.          It

15    also showed the surrounding area.         I received that this

16    morning and I’ve tendered it to the Court.

17                THE COURT:     Can you proffer when that was taken?

18                MR. DeFRANCO:     Your Honor, I would have to guess.

19    I could certainly ask Mr. Shelubay.

20                THE COURT:     Well, I don’t want to guess.        If you

21    know then that’s fine.

22                MR. DeFRANCO:     I don’t know off the top of my head,

23    but I certainly could find that out.

24                THE COURT:     All right.     All right, does that

25    complete your proffer then?
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 1                 MR. DeFRANCO:    Yes, sir, it does.

 2                 THE COURT:    All right.

 3                 Ms. Horwitz, did you have any further proffer?

 4                 MS. HORWITZ:    Your Honor, I think I would just like

 5    to make clear, I can’t recall if this was specifically

 6    covered, but in the 12586 Bridger Street warehouse,

 7    investigators did encounter cases marked SaharaCase, which

 8    were left at the warehouse.        And --

 9                 THE COURT:    Yes.   You had said that before.
10                 MS. HORWITZ:    Okay.    And the 42,000, approximately,

11    items seized by the agents at the execution of that search

12    warrant, those were the contraband cell phones and cell phone

13    accessories, or suspected contraband cell phones and cell

14    phone accessories that were seized and taken out of the

15    warehouse.     And that is pursuant to 18, U.S.C., Section 2320

16    and 49, U.S.C., Section 8302(a)(6) which obliges the

17    government to seize and eventually destroy, once found, and

18    confirmed to be contraband.

19                 THE COURT:    These -- the 42,000, you say, were

20    taken out of the 12586 Bridger warehouse?

21                 MS. HORWITZ:    And that 12554 Bridger warehouse,

22    Your Honor.

23                 THE COURT:    All right.

24                 MS. HORWITZ:    Thank you.

25                 THE COURT:    All right.    And the government’s
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 1    proffer is that the government believes that none of that

 2    seized property included Sahara phone cases?

 3                MS. HORWITZ:     Correct, Your Honor.

 4                THE COURT:     Okay.

 5                MS. HORWITZ:     It’s my understanding that the

 6    SaharaCase goods were left at the warehouse for the very

 7    purpose of not interfering with the business of that

 8    particular subpart.

 9                THE COURT:     Oh.   My inquiry was a little more
10    focused than that, because you had represented earlier on

11    that it wasn’t possible to look at everything.

12                MS. HORWITZ:     Correct, Your Honor.       I believe that

13    what has happened, but I have not been fully debriefed,

14    because it’s my understanding that the agents are still, as

15    of like yesterday they completed this effort, and I haven’t

16    had a chance to meet with them specifically on this, but

17    it’s my understanding that every box was looked through, the

18    items were counted and suspected counterfeit cell phones and

19    cell phone accessories were contained and all of the boxes

20    seized.

21                I have not specifically asked the agents whether or

22    not a SaharaCase got slipped into a box, but it’s my

23    understanding that the approximately 41,000 items are all

24    cell phones and cell phone accessories.

25                THE COURT:     Okay.   I --
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 1                 MS. HORWITZ:    Maybe I’m misunderstanding your

 2    point, Your Honor.

 3                 THE COURT:    Well, no.    No, I’m just -- was smiling

 4    because I -- and I appreciate there’s lots that you’re trying

 5    to keep track of, as am I.        You just said 41,000, before you

 6    said 42,000.     I don’t know that --

 7                 MS. HORWITZ:    My notes say 42, Your Honor.

 8                 THE COURT:    All right.    Okay.

 9                 MS. HORWITZ:    42,000.
10                 THE COURT:    All right.    Then let’s hear your

11    argument please.
12                  CLOSING ARGUMENT ON BEHALF OF PLAINTIFF

13                 MS. HORWITZ:    For the past decade, Pavel Babichenko

14    has controlled a large-scale sophisticated operation

15    trafficking in counterfeit cell phones and cell phone

16    accessories out of 12586 Bridger Street warehouse.

17                 Now as part of this criminal enterprise, this

18    defendant has traveled to Hong Kong to purchase directly from

19    manufacturers.

20                 THE COURT:    Can I have you back up to the very

21    beginning?

22                 MS. HORWITZ:    Yes, Your Honor.

23                 THE COURT:    The government is arguing not that

24    there’s a risk of danger here, but it’s the risk of flight

25    that your motion is based upon, correct?
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 1                MS. HORWITZ:     That’s correct, Your Honor.

 2                THE COURT:     All right.    So what the Court is

 3    concerned with is whether or not there is a preponderance of

 4    the evidence, demonstrated by the government, that would

 5    establish that there is no reasonable set of conditions that

 6    would reasonably assure the defendant’s presence at future

 7    proceedings if released.        And so all of this argument is

 8    focused on that issue, right?

 9                MS. HORWITZ:     Absolutely, Your Honor.
10                THE COURT:     All right.    Thank you.

11                MS. HORWITZ:     And I will say to the extent that I

12    delve into the general background of the scheme and the

13    counterfeiting components and the evidence therein, I think

14    it bespeaks to the point that this defendant faces extremely

15    serious charges for a very large, allegedly large criminal

16    enterprise.

17                Now this Court is well aware that it can consider

18    the sanctions and the strength of the evidence in determining

19    whether or not this defendant is a flight risk and that’s

20    kind of where I’m bringing this -- this component in.

21                I also think that his international travel to China

22    and his connections thereto, are another component of his

23    ability to flee internationally, not only because of the

24    means that he shown to have had access to, but also because

25    of his substantial contact, both through Brazil and China.
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 1                So as shown, the conspiracy was vast and the

 2    defendants operated over 100 separate business entities to

 3    sell their counterfeit goods online to thousands of

 4    unsuspecting customers.

 5                Now over the course of this investigation, FBI and

 6    HSI agents have identified over 50 U.S. Customs & Border

 7    Protection seizures of counterfeit electronic goods

 8    associated with this conspiracy.         The vast majority of those

 9    are directly attributed to either Pavel Babichenko by name or
10    Midstar, LLC.

11                Additionally, FBI and HSI agents have made over 14

12    undercover purchases of counterfeit electronic goods between

13    November 2015 and December 2017 through Amazon and eBay.              And

14    as this Court heard, FBI, working with the confidential human

15    source, bought directly, in-person, from Pavel Babichenko at

16    the 12586 Bridger Street warehouse, counterfeit cell phones

17    in bulk for cash.

18                Now as discussed, Pavel traveled with his brothers,

19    Piotr and Timofey Babichenko to China and Hong Kong to

20    directly to obtain their supply.         Additionally, Pavel with

21    his family, Piotr, Timofey Babichenko and Gennady Babitchenko

22    to Brazil numerous times, I believe the most, Your Honor.

23    I’d have to go back and double check Gennady’s, but he -- no,

24    I think -- I can’t remember.

25                But they travel there with the purpose of funneling
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 1    money to build eponymous condominiums.          And as the Court saw,

 2    while those condominiums may take advantage of --

 3                THE COURT:     Ms. Horwitz, you’ve used the term

 4    eponymous many times and it appears in your moving papers as

 5    well, which means that they’ve named the buildings their

 6    family name.     So what difference does that make here?           Are

 7    you intentionally emphasizing that for purposes of the

 8    decision I have to make?

 9                MS. HORWITZ:     I think, Your Honor, I think if this
10    was going to be a charitable institution, or if they were

11    going to assert that this is part of the Morning Star Church

12    institution, I think the fact that they put their name on it,

13    as opposed to the church’s name, speaks to the underlying

14    purpose of the condominiums.        That may be a     stretch, but

15    that’s why I’ve been emphasizing it.

16                THE COURT:     All right.    I understand.     Go ahead.

17                MS. HORWITZ:     And of course there’s nothing that

18    says that use of a federal program in Brazil, that’s used to

19    encourage building condominiums for favelas, people who are

20    living in favelas can’t be for-profit.          And according to

21    Gennady, Vasiliy Rudyi -- well, according to Gennady, the

22    Brazilian properties are an investment and he’s the one

23    that’s wired over $1 million to one bank account to Brazil.

24                According to Vasiliy Rudyi, the trustee of the

25    Morning Star Church, these Brazilian properties of the
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 1    Babichenkos are not associated with the Morning Star Church.

 2                In total, Your Honor, what we’ve -- what we’ve seen

 3    today is a substantial scheme -- or what the government

 4    alleges is a substantial scheme and it requires a large

 5    amount of capital, an ability to negotiate international

 6    businesses.     As you heard from defense counsel, it’s

 7    difficult to get things done in Brazil.           You have to have

 8    ties there in order to build and use construction.

 9                Simply the conspiracy and the charges alleged,
10    require means that are the very fear that the government has

11    that this defendant will flee.         His international ties, his

12    capital.    And especially concerning are the substantial means

13    and unknown assets of this defendant.

14                When you couple these traits with the defendant’s

15    plans and efforts to funnel money and assets to Brazil, as

16    well as their stated purpose, to multiple people over a

17    period of years, that they’re going to relocate to Brazil,

18    his legal residency status and his efforts, according to

19    himself and his undercover video, to gain Brazilian

20    citizenship.     And the preponderance standards is more than

21    met here, Your Honor.

22                THE COURT:     All right.    Thank you, Ms. Horwitz.

23                MS. HORWITZ:     Thank you.

24                THE COURT:     Mr. DeFranco.

25    ///
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 1                  CLOSING ARGUMENT ON BEHALF OF DEFENDANT

 2                 MR. DeFRANCO:    Your Honor, the fact that this is

 3    such a long investigation, I don’t know that that’s

 4    necessarily a helpful fact for the government.            It sounds

 5    like there were civil suits many years ago.           I know that my

 6    client retained attorneys and fought to protect his identity

 7    as a businessman.

 8                 I can tell the Court that my client is a wholesaler

 9    of cell phones.      And what the government is referring to as a
10    counterfeit cell phone, my client would prefer to

11    characterize as a refurbished cell phone.

12                 I don’t know a whole lot about cell phones.           I

13    suspect I’m going to no more than I’ll ever want to know

14    about them in handling this matter, but one of the things

15    that I learned from my client is that a very important

16    distinguishing feature on a cell phone is what’s called an

17    IMEI number.     And an IMEI number is particular to that

18    individual phone.      So on an iPhone, on an older iPhone you

19    can actually look at the back and it will have the number on

20    it.   On the newer models, I have an 8, iPhone 8, you would go

21    into the “about” and you can see the IME number in there.

22    And that IME number is very important because you need that

23    in order to have a service provider activate that phone so it

24    will work.     And each phone has its individual IME number.

25                 So my client, as a wholesaler, has -- goes into the
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 1    marketplace in bulk, purchases, you know, big batches of used

 2    cell phones and he’s in the business of refurbishing those.

 3    Some of that work is done in China.          So the travel to China

 4    or the Philippines, he indicated to me that the Philippines

 5    also does the same work as the refurbishing process.             So a

 6    new bezel [phonetic] setting for the phone, glass, all that

 7    stuff is done as part of the business, so it can enter into

 8    the resale market.

 9                Now certainly the government has raised some
10    interesting things in their proffer as it relates to

11    scienter.     Apparently my client is surreptitiously recorded

12    making statements that are consistent with him having

13    knowledge and saying, hey, let’s sell this in a way online,

14    that would provide an opportunity for us to be able to engage

15    in the marketplace without the watchful eye of the people

16    that own the trademarks.        That’s a bad fact for the defense,

17    if that’s true.

18                But I’m thinking about this case overall.           And I

19    know that the trademark world, you expose yourself to treble

20    damages, you expose yourself to all sorts of penalties where

21    you can lose a lot of money.        And in this case what we’re

22    talking about is my client losing his freedom.

23                And the thing that’s -- I guess I don’t even have

24    to address the risk of danger because the government has

25    conceded that there is no risk of danger.           I mean we’re not
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 1    talking about this money being funneled, using the

 2    government’s term, into some illicit business that’s used to

 3    purchase firearms, or drugs, and where the community is

 4    somehow at risk.

 5                What we’re talking about, I suppose, in terms of

 6    danger to the public, reference to these products is that an

 7    imitation battery, or an imitation charger, or a phone that

 8    didn’t come from the manufacture could burst into flames and

 9    hurt somebody.
10                Again I, you know, I’m having a hard time wondering

11    what sentencing would look like in this case.            I can

12    appreciate the guidelines will be there, but I don’t know

13    that we’re going to have, you know, someone coming into Court

14    about -- talking about the fact that their lifetime savings

15    has been depleted or, you know, they’ve lost everything.

16                I suppose the real victims here are the

17    manufacturers who are having a bite taken out of their

18    business, whether it be as the manufacturer of the cell

19    phones or a reseller of refurbished phones.

20                Ironically, the businesses that manufacture these

21    phones, like Samsung and Apple are in the business of selling

22    refurbished phones.

23                If Apple, at one of their stores has a phone that

24    doesn’t -- the packaging is dented or something, it goes

25    back to Apple and they sell it off as a refurbished phone.
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 1    And that -- my client has been a wholesaler for many years in

 2    that business.      And as you can imagine, the profit margin is

 3    pretty tight and you have to be very sophisticated in terms

 4    of how you access the market in order to turn a profit.              And

 5    he’s been a good businessman.         And in some ways I think that

 6    works against him in terms of arguing that now he has these

 7    resources based on his contacts from having done a legitimate

 8    business overseas that makes him a flight risk.

 9                 But, you know, going no further than Ms. Melchert’s
10    report, the things that are going to keep him here are these

11    communities of people that have come here in support of that

12    man.    In addition, he has five kids, a five-month-old here

13    as well.    He’s not going to do anything that’s going to put,

14    you know, their futures at jeopardy because of his decisions

15    as a -- his decisions as a businessman.           He is absolutely 100

16    percent tied to this community.         He has incredible affection

17    for this community.       This is the community that gave his

18    father escape from Georgia where he was prosecuted as a

19    Christian.     He married into a Ukrainian family who they don’t

20    -- they’re not friendly with Russia.          They’re unhappy with

21    Russia’s behavior in terms of the way they’ve treated the

22    Ukraine as an imperialistic opportunity to gain access to a

23    waterway.     They are not happy about that.        They love this

24    country and this is where they want to stay.

25                 And this Brazilian opportunity was an opportunity
     ______________________________________________________________________________
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 1    -- yes, it has value and its investment, but it’s an

 2    investment rooted in opportunity for people to escape the

 3    favelas and live in an humanitarian setting.            And I don’t

 4    think that my client ever had any plans on living in that.

 5                And then the signs that are on that, as you can see

 6    from the video, the people that are participating in the La

 7    Casa program, that their family name appears on those

 8    buildings so the construction workers know where to go to do

 9    the finishing work.       To where to go to do the construction.
10    And the idea is that La Casa, that program, you’ll know who’s

11    responsible.     What family is responsible for that

12    construction by virtue of the fact that their name appears.

13    And it’s not in flashing lights.         It’s very un-austere and

14    its mailed to Babichenko Place.         That’s where you would get

15    your mail if you were a poor person ultimately living in one

16    of those subsidized housing units.

17                So I, you know, it -- I think Ms. Horwitz’s

18    comments was, it may be a stretch with regard to the family

19    name, but, you know, I’m arguing that it’s more a necessity

20    in terms of a business practice in identifying the

21    property --

22                THE COURT:     Well, I think her argument, Mr.

23    DeFranco, was that if -- if the purpose of the construction

24    was part of a mission for the church that it would have a

25    different name than Babichenko.         So, frankly, this is -- this
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 1    is a piece of what I’m thinking about, but it’s not as

 2    significant as other things, so.

 3                MR. DeFRANCO:     Fair enough.     And I think you

 4    identified as much, so I apologize if I spent too much time

 5    on that particular issue because I’m more concerned about

 6    other stuff in this case.        And primarily what I’m concerned

 7    about is this material that’s in the warehouse, these

 8    SaharaCases.

 9                You know, the -- you have a lot of power as a
10    Magistrate in setting conditions of release and one of the

11    things that you could do is say that the proceeds from the

12    sale of the SaharaCase be deposited into a neutral bank

13    account.    I think you would have the authority in setting

14    conditions of release.

15                And what I was talking about with those SaharaCases

16    is that those have value in the marketplace, but there’s a

17    very narrow window of time when you’ll be able to sell those

18    items and that typically it’s the Christmas holiday.             And

19    because that -- that those are for older phones already in

20    existence and those phones likely are not going to be for

21    sale after the price drop happens.          It’ll be a mass rush to

22    the marketplace to purchase those.          And then there will be a

23    mass rush to the marketplace to purchase cell phone covers

24    that will ultimately protect those cell phones.            So that --

25    that stuff in that warehouse has value, but it has a shelf
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 1    life.

 2                 And so -- and my client, his intent is, if he gets

 3    out is to work full-time as an electrician and he would also,

 4    probably in the evenings, have to figure out a way to unload

 5    those SaharaCases in order to make money.

 6                 I don’t think that the Court -- I don’t think it’s

 7    fair for the Court to consider not releasing him because he

 8    has the opportunity to make money and have resources.              I

 9    think the Court’s analysis is more discrete and complex, you
10    know, the idea is, is that I don’t want -- whatever resources

11    your obtaining by virtue of an employment that pays 15-plus

12    an hour, or if you’re able to make a bunch of money selling

13    SaharaCases, I don’t want that being used to fuel some sort

14    of exodus, an illegal exodus from the United States, because

15    legally he’s not going to be able to leave.

16                 The first thing I did, once I heard that Gennady

17    was detained was I freaked out and got my client’s passport

18    and his wife, and brought it to Ms. Melchert’s office.              At

19    7:30 a.m. in the morning I was outside of her office with my

20    client’s passports and my client was more than happy to

21    provide that material through his father-in-law.

22                 You know, my client has no designs on leaving this

23    community.     This community has done a lot for him and he’s

24    invested.     And more importantly the thing that he cares most

25    about in the whole wide world are five children and his
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 1    spouse.    And, you know, they’re not going anywhere.

 2                 With regards to the resident visa, Your Honor, I --

 3    you know, I -- what I would argue to the Court is that being

 4    a Brazilian citizen is certainly one thing.           If somebody has

 5    dual citizenship, you know, that suggests that, you know, you

 6    might be able to travel easier into that other nation.              But

 7    he is a resident visa.       And the resident visa wasn’t part of

 8    a plan to, you know, have an escape valve from the United

 9    States if things got too hot.         That residential visa was a
10    mechanism whereby you could create a bank account and do

11    business and contract in Brazil.         And having to do that was

12    important.     And having to fund that project was important.

13                 And having to be there in order to monitor the

14    contractors is really important.         Anybody that’s ever built a

15    house or anything, knows that the amount of oversight

16    required by a general contractor or somebody that has an

17    investment, things get -- go sideways very quickly, unless

18    somebody’s there to make sure that there’s lien releases, and

19    everything gets done appropriately and that’s basically what

20    these folks were doing.       They were going to Brazil, they were

21    working with an attorney’s office, they were working closely

22    with the government.

23                 Every time they traveled there, they went through

24    customs and they spent at least an hour in customs answering

25    questions about why they were there.          And in turn they knew
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 1    that if we build this thing down there, everybody’s going to

 2    be asking questions.       There’s proper documentation, according

 3    to my client, that they’re working with the government in the

 4    La Casa program and it is a charitable enterprise.

 5                 So, you know, I just don’t believe that it’s fair

 6    to simply look at that property and characterize it as a

 7    machine that fuels the flight risk argument.            I just -- I

 8    don’t see that it’s that, based on the information that I

 9    received -- received heretofore.
10                 My client has indicated that he’s more than willing

11    to wear the electronic bracelet on his ankle, so the

12    probation department would know what -- his whereabouts.              I

13    mean you could be even more creative.          You could require that

14    he turn himself into the jail for weekends, you know, when

15    he’s not work.      The bottom line is, my client is 100 percent

16    absolutely committed to following the rules as it relates to

17    conditions of release and I think you have the power to

18    fashion conditions of release that guarantee that he shows up

19    for Court.     He has no criminal history.        He’s never failed to

20    appear.    I think there was some mention of a misdemeanor

21    charge and I might be confusing it was something else, but

22    there was no disposition.

23                 THE COURT:    There’s a misdemeanor charge in Payette

24    County.

25                 MR. DeFRANCO:    In Payette County and there was no
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 1    disposition.     I didn’t know what that was and I neglected to,

 2    you know, chase that information down.          I apologize but, you

 3    know, if he’s out he could also figure out what that’s all

 4    about.

 5                But, you know, from all intents and purposes,

 6    citizen, seems like a nice guy, successful businessman and

 7    not a flight risk.      I’d ask that you consider releasing him

 8    with conditions.

 9                THE COURT:     Okay.   Thank you, Mr. DeFranco.
10                Ms. Horwitz, I gave Mr. DeFranco a little leeway.

11    He kind of started doing some more proffer in the course of

12    that.    It’s hard sometimes to keep that line drawn.           It’s

13    your motion, I’ll give you the last piece of argument.              And

14    if you have anything -- proffer to counter any of that then

15    you can have a chance to do so.

16                MS. HORWITZ:     Thank you, Your Honor.       The

17    government rest

18                THE COURT:     All right.
19                                 JUDGE’S RULING

20                THE COURT:     All right.    So, Mr. Babichenko, we’ve

21    covered a lot of ground here this morning and in dealing with

22    all of this, the Court’s responsibility is to take that

23    information and consider it in the context of what the law

24    requires me to consider and then make a decision based upon

25    what the law requires me to consider.          I don’t get to act
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 1    free-form in all of this.

 2                My consideration of what to do begins with the

 3    motion that the government has filed, which is a request that

 4    the Court order that you be detained because the government

 5    contends that you are a risk to flee, that is, to not show up

 6    for further proceedings, and that there are no conditions

 7    that can be imposed that would reasonably assure your

 8    appearance at further proceedings in this case.

 9                And in considering all of that, I first -- well,
10    the guidelines for my thinking about those things is, are

11    those that are found in federal law at 18, United States

12    Code, Section 3142, that is titled, “Release or Detention of

13    Defendant Pending Trial.”

14                In this particular instance, where the government

15    argues that you are a risk of flight, the burden of proof

16    that they have to make is by a preponderance of the evidence.

17    In other words, that I’m persuaded, more than not, that there

18    are no conditions that could be imposed that would reasonably

19    assure your appearance going forward.          To get to that point,

20    I have to first decide whether there is a risk of flight at

21    all.

22                In this case, given the six charges that you face

23    which carry with them, if the entirety of a sentence were to

24    be imposed on each charge, if you were to be convicted on

25    each charge, which is an unusual scenario in terms of a
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 1    sentence, but you face potentially 80 years in the

 2    penitentiary if the sentences were to be imposed

 3    consecutively.

 4                There were also the four forfeiture allegations

 5    which involve allegations by the government that there’s

 6    substantial sums in money and substantial amounts of property

 7    that were used in connection with the alleged crimes and the

 8    government says that you should have to forfeit any interest

 9    you have in any of that.        And then of course, there’s the
10    possibility for fines in very large amounts as well.

11                There is, inescapably, in the Court’s view, a risk

12    of flight in that setting, so I then have to examine what the

13    statute calls on me to consider in terms of whether there are

14    conditions that could possibly be imposed that would protect

15    against that.

16                In all of this, the statute sets out various

17    factors.    The factors include that I’m to consider the nature

18    and circumstances of the offenses charged, including whether

19    or not there’s a crime of violence alleged, a crime of

20    terrorism; whether it involves a minor victim, or a

21    controlled substance; a firearm, an explosive or a

22    destructive device.       Well, none of the latter things exist

23    in this setting.      The nature and circumstances, as well as

24    the weight of the evidence are heavily emphasized by the

25    government in its argument.        And in that regard, the
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 1    government characterizes the criminal enterprise that they

 2    allege is reflected in the indictment that’s been issued in

 3    this case is a vast, and of many years standing, and enormous

 4    sums of money, and -- and money laundering to go along with

 5    it.

 6                In that regard, the -- what’s known as the weight

 7    of the evidence is -- is to be given the least weight in my

 8    decision, but it is something that I’m to consider.              And in

 9    this particular case, given what’s been described, it has a
10    considerable weight as to what ought to be done.               The scope

11    of the allegations, the amounts of the allegations.              Your

12    counsel has done a very fine job in arguing on your behalf as

13    to all these various factors.

14                Underneath all of that, among other things, is the

15    government’s contention and proffer that the result of the

16    warrants executed at the warehouses came away with, what the

17    government contends are 42,000 items in the warehouse that

18    are suspected to be counterfeit devices of the nature that

19    Ms. Horwitz had talked about.         Of course that’s -- that’s

20    what’s in the warehouse.        And she also made proffer as to

21    significant amounts of what the government contends are

22    counterfeit devices that were in the process of being shipped

23    and had been retrieved apparently, from wherever they had

24    been placed for shipment just in the two days that she

25    referenced, so that suggested a tip of an iceberg that could
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 1    reasonably be drawn by inference.         So that’s important to my

 2    consideration.

 3                Then I consider your history and your

 4    characteristics, so I -- in that I examined what I know about

 5    your character that’s been presented to me, your physical and

 6    mental condition, your family ties, employment, financial

 7    resources, length of residence in the community, your

 8    community ties, your past conduct, history relating to drug

 9    or alcohol abuse, criminal history and record concerning
10    appearance at Court proceedings.

11                By and large all of that information, Mr.

12    Babichenko, tilts in your favor.         You’re a longtime resident

13    of Idaho.     You have -- your business here, your family is

14    here, your relatives are here, your -- some of these things

15    are difficult to pin down in this kind of an analysis because

16    one of the things I look at is your financial resources.

17    Well, in this setting, at least it has been represented to

18    me that your financial resources have all been seized largely

19    by the government.

20                Now the government on the other hand          says, well,

21    by the way in executing her search warrants, we found

22    evidence that suggest that there are other assets that we

23    don’t know about that this defendant has.

24                So your physical and mental condition, there’s no

25    issue that’s relevant here, so far as I’m aware of that.              So
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 1    all those things would support released to the community.

 2                 Then I consider whether or not, at the time of your

 3    arrest of the alleged offense you were on probation, parole,

 4    or other release pending trial, sentencing, appeal, or

 5    completion of a sentence and that’s not true here.

 6                 So, largely, on balance, all of that is -- it could

 7    support a decision on my part going either way.            The area

 8    that is -- that tilts the balance on what I’ve heard, Mr.

 9    Babichenko, is the evidence about the wire transfers, the
10    transfers between the companies in large amounts.              Your --

11    the allegations about your doing hand-to-hand, so to speak,

12    transactions with -- with specific statements about the

13    counterfeit goods.      About counterfeit goods being involved in

14    the transactions.      The trips you have made to Brazil and

15    China.    The fact that you are a -- you have a resident visa

16    in Brazil.     The proffer that you are seeking citizenship in

17    Brazil.    And all of that doesn’t -- if one tries to

18    characterize all of that as being done as part of a mission

19    for your faith, in light of everything else it doesn’t ring

20    true in the Court’s assessment based upon this record.              And

21    what it does suggest is that there is an intention to leave

22    the United States and that you have both sophistication and

23    the resources to attempt to do so.          And that given the

24    enormity of everything else that’s alleged, and the Court

25    acknowledges that in doing so that I’m turning, in large part
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 1    here, to the weight of the evidence, but in this case it’s

 2    significant that I -- even if I -- if your passport is taken

 3    and I order that you be on location monitoring and other

 4    things that might be intended to try to protect against that

 5    risk, I don’t think that it could rise to the level where it

 6    would reasonably assure your appearance at further

 7    proceedings.

 8                So that’s a -- that’s a decision that is a -- one

 9    that I reached -- I reach after considering all of those
10    matters and for the reasons I just described, I conclude that

11    the government’s motion should be granted.

12                Ms. Horwitz, anything further?

13                MS. HORWITZ:     No.   Thank you, Your Honor.

14                THE COURT:     Mr. DeFranco?

15                MR. DeFRANCO:     No, Your Honor.

16                THE COURT:     We’ll be in recess.

17                THE CLERK:     All rise.    Court is adjourned.

18                   PROCEEDINGS CONCLUDED AT 12:13:31 P.M.

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                     ISSAQUAH, WASHINGTON 98027-0002
                              (206) 953-7066
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  /s/ Gayle Martin-Lutz
  FEDERALLY CERTIFIED MANAGER/OWNER

  /s/ Gayle Martin-Lutz                                 09/14/18
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